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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

  GARY RIHN &                                   )
  BONITA RIHN,                                  )
                                                )
                 Plaintiffs,                    )
  v.                                            )       Case No. 4:07CV00197ERW
                                                )
  TYOKA JACKSON                                 )
                                                )
                 Defendant.                     )

        PLAINTIFFS’ MEMORANDUM IN SUPPORT OF PLAINTIFFS’ SECOND
       MOTION IN LIMINE TO EXCLUDE 1) ANY STATEMENTS, QUESTIONS,
       EVIDENCE OR ARGUMENT CONCERNING PLAINTIFFS’ EXERCISE OF
       THEIR LEGAL RIGHTS AND 2) ANY ATTEMPT TO ELICIT IMPROPER
          OPINION TESTIMONY FROM DR. ARONOV CONCERNING THE
             CREDIBILITY OF PLAINTIFFS OR “SECONDARY GAIN”

          COME NOW Plaintiffs, Gary Rihn and Bonita Rihn, and for their Memorandum

  in Support of Plaintiffs’ Second Motion in Limine to Exclude 1) Any Statements,

  Questions, Evidence or Argument Concerning Plaintiffs’ Exercise of Their Legal Rights

  and 2) Any Attempt to Elicit Improper Opinion Testimony from Dr. Aronov Concerning

  the Credibility of Plaintiffs or “Secondary Gain”, states as follows:

  I.      INTRODUCTION.

          Plaintiff Gary Rihn has filed suit against Defendant Tyoka Jackson for battery.

  Plaintiff Bonita Rihn has made a derivative claim for loss of consortium. Gary Rihn is a

  flight attendant, employed by Northwest Airlines. On February 13, 2005, while working

  a flight from Memphis, Tennessee to St. Louis, Rihn instructed Jackson to stow his bags

  to prepare for landing. On the descent into St. Louis, the Defendant failed to comply

  with Rihn’s instructions, struck Rihn with both hands, causing him to leave his feet, fly

  across the cabin, land on another passenger and the seat separator. Defendant’s acts


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  violated Federal Aviation Regulation Section 121.580, constituting per se liability. As a

  result of Defendant’s assault and battery, Plaintiff Rihn suffered physical injuries as well

  as post-traumatic stress syndrome/anxiety.        Plaintiff Bonita Rihn alleges loss of

  consortium as a result of Defendant’s battery of her husband.          Plaintiffs seek both

  compensatory and punitive damages.

  II.    ANY STATEMENTS, ARGUMENT OR QUESTIONS CONCERNING
         PLAINTIFFS’ EXERCISE OF THEIR LEGAL RIGHTS SHOULD BE
         EXCLUDED.

         Plaintiffs have set forth at length, in Plaintiffs’ Motion in Limine to Exclude

  Questions, Comments, Opinion Testimony or Statements of Defendants’ Expert Dr.

  Smith Concerning: 1) the Credibility of Plaintiff Gary Rihn; 2) Plaintiffs’ Use of the

  Legal System; and 3) the Credibility of Gary Rihn’s Treating Physician Dr. Aronov,

  Defendant’s effort to use his expert, Dr. Stacey Smith, to improperly attack the credibility

  of Plaintiff Gary Rihn and his physician, Dr. Aronov. Plaintiffs further anticipate that

  defendant intends to question Plaintiffs themselves concerning their use of the legal

  system, including questions concerning when Plaintiffs retained their attorneys.

         Additionally, plaintiffs anticipate that counsel for defendant will offer statements

  and argument at trial suggesting that plaintiffs have only brought the present suit because

  they hope to “cash in” on Mr. Jackson’s minor celebrity as a professional football player.

  This has been a consistent theme from counsel for defendant since early in this case,

  when Mr. Magee was quoted in the St. Louis Post-Dispatch as stating “Obviously, the

  lawsuit’s being filed because it’s Tyoka Jackson…not John Q. Public.” Similarly,

  counsel for the defendant questioned Mrs. Rihn extensively on whether the plaintiffs

  knew that Mr. Jackson was a professional football player prior to this lawsuit being filed.




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  (Bonita Rihn Depo., pp. 34-35). Any such comments or argument constitute an improper

  effort to discredit plaintiffs for exercising their rights under the law.

          The law is clear that parties cannot introduce evidence of a party’s use of the legal

  system in order to discredit that party. See Sizemore v. Fletcher, 921 F.2d 667, 670-671

  (6th Cir. (Ky.) 1990)(Where prosecutor made “intentional and repeated attempts to

  question [the defendant’s] motives for consulting with counsel” and “clearly invited the

  jurors to view [the defendant’s] ability to hire several attorneys with suspicion,”

  arguments constituted prejudicial error). Thus, Missouri Courts have held that a defense

  counsel’s questions regarding when the plaintiff first hired his attorney constituted

  prejudicial error, because the questions were asked “to discredit plaintiffs as avaricious

  because they sought the services of a lawyer soon after their son’s death.” Carlyle v. Lai,

  783 S.W.2d 925, 929 (Mo.App. W.D. 1989)(“Accessing the legal system is normally not

  to be discouraged and, exercising one’s right to utilize the legal system within established

  rules and procedures should normally not be used to attempt to discredit a litigant with a

  jury.”) See also Edgell v. Leighty, 825 S.W.2d 325 (Mo.App. S.D. 1992)(Court properly

  excluded evidence concerning date injured motorist filed suit). In this case, defendant’s

  questions and argument which seek to improperly “discredit plaintiffs as avaricious”

  should similarly be excluded.

          Furthermore, Defendant has not produced a shred of evidence to support any

  statements or argument that Plaintiffs have deceptively or dishonestly “concocted” a

  lawsuit or exaggerated their damages for monetary gain. In Yingling v. Hartwig, 925

  S.W.2d 952 (Mo.App. W.D. 1996), the Court held that the trial court’s admission of a

  physician's expert opinion, to the effect that patients involved in litigation have subjective




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  complaints of injury for a longer period of time than patients not involved in litigation,

  was prejudicial error. Id. at 955-957. At trial, counsel for the defendant explicitly made a

  number of similar arguments during closing suggesting that the lawsuit was a sham

  concocted by the plaintiff, including the assertion that “What you have seen is a year-

  and-a-half event by those two lawyers to develop a lawsuit.” Id. at 957. Counsel further

  contended that the case was a “contrived thing,” meant solely to make money. Id. The

  Court found this argument to constitute prejudicial error, stating that “There was no

  evidence to support any of these arguments. Defense counsel certainly tried to imply to

  the jury that they occurred or were fact. However, there was no evidence of any of the

  matters asserted.” Id.

         The same is the case here, and defendant should not be allowed to argue to the

  jury that Plaintiffs are faking or exaggerating their injuries for purposes of litigation when

  there is no evidence that this is the case, apart from the speculative and inadmissible

  opinions of Defendant’s hired expert. See Memorandum in Support of Plaintiff’s First

  Motion in Limine. This is particularly true where the uncontroverted facts support

  Plaintiffs’ exercise of their legal rights, by demonstrating that Defendant violently

  assaulted Gary Rihn and violated federal aviation regulations. Plaintiffs respectfully

  request that the defendant be precluded from making any such argument.

  III.   DEFENDANT SHOULD NOT BE ALLOWED TO ELICIT IMPROPER
         OPINION TESTIMONY FROM PLAINTIFF GARY RIHN’S TREATING
         PHYSICIAN, DR. ARONOV CONCERNING THE CREDIBILITY OF
         PLAINTIFF OR “SECONDARY GAIN.”

         “[E]xpert testimony going to the issue of credibility is not admissible.” Westcott v.

  Crinklaw, 68 F.3d 1073, 1077 (8th Cir. 1995). “[E]xpert witnesses may not offer opinions

  ... based on their personal assessment of the credibility of another witness's testimony.



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  The credibility of witnesses is exclusively for the determination by the jury, and

  witnesses may not opine as to the credibility of the testimony of other witnesses at the

  trial.” United States v. Scop, 846 F.2d 135, 142 (2nd Cir. 1988).

         Plaintiffs anticipate that counsel for defendant will question Gary Rihn’s treating

  physician, Dr. Aronov, at trial in an attempt to elicit improper opinion testimony

  concerning Plaintiff’s credibility and his use of the legal system in order to obtain

  compensation for his injuries. In deposition counsel for defendant questioned Dr. Aronov

  on whether he was informed of the civil claim prior to examining Gary Rihn. (Aronov

  Depo., p. 60.) Counsel further questioned Dr. Aronov at length on the concept of

  “secondary gain” arising from the litigation process, improperly insinuating that the

  potential monetary gain from litigation was the real cause of Gary Rihn’s symptoms.

  (Aronov Depo., pp. 68-72.) This line of questioning directly and improperly attacks the

  credibility and motivations of Plaintiff’s own testimony concerning his injury and

  symptoms, and thus invades the province of the jury. Dr. Aronov in effect agrees with

  the conclusion that the Courts have reached on this issue, that psychologists are not “lie

  detectors” who are capable of judging the credibility of witnesses. Dr. Aronov states that

  “Any expert who tells you he can tell what the truth is and what isn’t the truth should

  scare you to death. We can’t.” (Aronov Depo., p. 91.) Thus, this type of questioning

  seeks opinion testimony from Dr. Aronov, and that is both inadmissible (as an opinion on

  the credibility of Mr. Rihn and personal injury plaintiffs in general) and immaterial

  (because Dr. Aronov’s actual opinion is that psychologists are not competent to give such

  an opinion on whether a witness is telling the truth).




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          Plaintiff’s First Motion in Limine addresses at length Defendant’s expert Dr.

  Smith’s improper opinion testimony concerning the credibility of Gary Rihn and Dr.

  Aronov. Any attempt by Defendant to solicit testimony from Dr. Aronov regarding the

  credibility of Gary Rihn or regarding “secondary gain” would be improper for the same

  reasons: An expert is simply not permitted to testify concerning the credibility of a

  witness. Furthermore, as set forth above, Defendant’s “secondary gain” strategy itself is

  improper, and defendant cannot admit this evidence “through the back door” by

  questioning Dr. Aronov. Therefore, Plaintiffs respectfully requests that all such argument

  or questions, including all of the statements set forth above, be excluded at trial in this

  case.

          WHEREFORE, Plaintiffs respectfully request that the Court enter an Order

  precluding the Defendants from introducing any testimony or opinions concerning the

  credibility of Plaintiffs or any other witnesses, from making any comments or argument

  to the jury concerning “secondary gain”, or otherwise attempting to discredit plaintiffs for

  exercising their right to utilize the judicial system to seek recovery for their injuries.



                                                          DOWD & DOWD, P.C.


                                                  BY:    ___/s/ DOUGLAS P. DOWD__
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                             CERTIFICATE OF SERVICE

         A copy of the foregoing was served by operation of the Court’s electronic filing
  system this 10th day of March, 2008 to Mr. Thomas Magee, Attorneys for Defendant,
  Moser & Marsalek, P.C., 200 North Broadway, Suite 700, St. Louis, Missouri 63102,
  314-421-5640 (fax) and N. Scott Rosenblum, Rosenblum, Schwarts & Rogers, P.C., 120
  South Central Avenue, Suite 1550, Clayton, Missouri 63105, 314-862-8050 (fax).

                                                     /s/ DOUGLAS P. DOWD__
                                                     DOUGLAS P. DOWD




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